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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

TRACI STEVENSON,
Trustee for the Bankruptcy Estate
of Jose A. Rivera,                                            Case No.: 8:19-cv-617-VMC-JSS

          Plaintiff,
v.

DISCOVER PRODUCTS, INC., d/b/a
DISCOVER BANK, a/k/a
DFS SERVICES, LLC,
a foreign limited liability company,

      Defendant.
____________________________________/

                            NOTICE OF PENDING SETTLEMENT

          COMES NOW, Plaintiff, TRACI STEVENSON, Trustee for the Bankruptcy Estate of

Jose A. Rivera (hereinafter, “Plaintiff”), by and through the undersigned counsel pursuant to Local

Rule 3.08, Middle District of Florida, and hereby submit this Notice of Pending Settlement and

states:

          1.      Plaintiff and Defendant, DISCOVER PRODUCTS, INC., d/b/a DISCOVER

BANK, a/k/a DFS SERVICES, LLC (hereinafter, “Defendant”), reached a conditional settlement

regarding all claims in this case as to Defendant, and the parties are presently drafting, finalizing,

and executing a written settlement agreement and release of liability.

          2.      Upon execution of a mutually-agreeable settlement agreement and release—and

compliance with its terms—undersigned counsel will execute and file a Joint Stipulation for

Dismissal with Prejudice.
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       3.      To the extent this Court treats the foregoing as a Motion, pursuant to Middle District

of Florida Local Rule 3.01(g), the undersigned certifies she consulted with Defendant’s counsel,

and Defendant agrees to the relief sought herein.

       Dated: April 18, 2019.
                                              Respectfully submitted,
                                              LEAVENLAW

                                              /s/ Kelly C. Burke
                                              □ Ian R. Leavengood, Esq., FBN 0010167
                                              □ Sean E. McEleney, Esq., FBN 0125561
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                                              Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 18, 2019, a true and correct copy of the above and

foregoing Notice of Pending Settlement was electronically filed via CM/ECF which will

electronically serve the following counsel of record:

       Jacqueline Simms-Petredis, Esq.
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       Attorneys for Defendant

                                             /s/ Kelly C. Burke
                                             Attorney




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